
NATIONWIDE MUTUAL INSURANCE COMPANY, and NATIONWIDE PROPERTY &amp; CASUALTY INSURANCE COMPANY, Appellants,
v.
KATHY CHERVENY, FRANCINE MacCHITELLI, ROSEMARIE LICHTENSTEIN, ALFONSO ABBATELLO, MARIA ABBATELLO, HUMBERTO ACEVEDO, NEYHLA ACEVEDO, KENNETH J. AHLER, MARGARET ANN AHLER, SARA ALESSI, VINCENT ALFARANO, GLORIA ALFARANO, WILLIAM S. ANDERSON, CATHERINE A. ANDERSON, DORENE JOHNSON ANGELIM, CAMILLE ANGELIM, FRANCIS A. ANTENNAL, PASCAL G. AVENA, MARJORIE K. AVENA, LEO E. BETHUNE, DAPHNE M. BETHUNE, RALPH C. BLAIR, CYNTHIA A. BLAIR, EMANUEL S. BLAISE, ROSEMARIE BLAISE, ROBERT A. BLAISE, PAMELA A. BLAISE, JOSEPH F. BORAWSKI, ELEANOR M. BORAWSKI, ANTHONY D. BRUNO, KATHLEEN BRUNO, ELVIRA CANORA, ARTHUR E. CARON, ROSE ALINE CARON, ANDRE CICERON, DAVID C. CLARK, RUBY J. CLARK, ALICE V. COCHRAN, NICHOLAS COSTA, JR., CAROLYN L. COSTA, VICTOR E. DeMAYO, STEFANIE DeMAYO, DAWN K. DiGIOVANNA, DESMOND J. DUGGAN, JEFFREY J. FERENCE, BENITA J. FERENCE, WILLIAM FERRONE, VIRGINIA FERRONE, FLORIDA HOME DEVELOPMENT, ALICE M. FORDHAM, ALAN GAGNON, LILLIAN GAGNON, DAN GASKIN, JUNE GASKIN, ROB GASKIN, ROSEMARIE GIOVINAZZO, VINCENT GIOVINAZZO, PATRICIA GIOVINAZZO, GEORGE I. GUIDER, CAROLE A. GUIDER, RICARDO GUERRA, VIGNIER GUILERMO, CHRYSTAL J. HAUPT, RANDALL B. HIBBARD, ERNEST L. HOLT, ROSE HOLT, ARTHUR ISTRICO, GLORIA ISTRICO, RON KAPITAN, LUCINDA KAPITAN, CHRISTIAN KECK, ROBERTA G. KECK, CHARLES Y. KIM, ANGELA S. KIM, KENNETH KINKADE, ELEANOR KINKADE, M. W. KOSTILIK, FRANCINE L. KOSTILIK, JOHN WAI HUNG LAI, JEAN LICCIARDI, JEAN LIZZA, THOMAS MANN, SYLVIA MANN, RAYMOND G. MARRACINO, ALICE C. MARRACINO, ALBERT J. MARTINI, CLOTILDA R. MARTINI, JOHN A. MEGLINO, GRACE A. MEGLINO, NANCY B. MERKEL, ELEMER G. MICHAELIS, SONJA MICHAELIS, BARBARA MIRTI, ALBERT MONGEAU, VINCENT MUSARRA, ROSE MUSARRA, ANNA MARIA C. MUSARRA, EAMON O'DOWD, MAGDALENA V. PACQUING, COSMO PANACIULLI, CATHERINE PANACIULLI, ROBERT V. PARTINGTON, MARIE E. PARTINGTON, GEORGE PLEICKHARDT, MARLIS PLEICKHARDT, DORIS B. POPOWICH, ADOLF PRIEBE, INA MARIE PRIEBE, BETTY RINGO, PATRICIA SANDERS, HAROLD SCHWARTZ, MARLENE A. SCHWARTZ, FRANK SEGNELLO, LINDA SEGNELLO, MARCEL P. SIMEON, SR., RONALD STROM, PATRICIA STROM, VISITH SUEKSAGAN, PENVUN SUEKSAGAN, FREDERICK L. SWINGLE, D. JUNE SWINGLE, MICHAEL TADEUSIAK, RUTH A. TADEUSIAK, SUSAN B. TESORIERO (PALM REALTY), PONNAMMA THOMAS, BENJAMIN J. VERANKO, JANET B. VERANKO, WILLIAM D. WAGNER, BARBARA H. WAGNER, RICHARD J. WASIELEWSKI, ALLEN R. WATKINS, CHARLES L. WIGLE, THEODORA WIGLE, EVERGREEN AT PORT SAINT LUCIE CONDOMINIUM ASSOCIATION, INC., a Florida not-for-profit-corporation, and ALBERT J. MOUND, Appellees.
No. 4D09-200.
District Court of Appeal of Florida, Fourth District.
April 21, 2010.
John P. Wiederhold of Wiederhold &amp; Moses, P.A., West Palm Beach, for appellants.
Jacqueline Cherveny Brown, Pomona, New York, for appellee Kathy Cherveny.
PER CURIAM.
Affirmed.
CIKLIN and GERBER, JJ., and COX, JACK S. Associate Judge, concur.
Not final until disposition of timely filed motion for rehearing.
